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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        :       CHAPTER 7
                                              :
VICTOR VU NGUYEN,                             :       CASE NO. 20-65736-PWB
                                              :
            Debtor.                           :


                                 CERTIFICATE OF SERVICE

       This is to certify that on November 3, 2020, I, S. Gregory Hays, caused to be served a
true and correct copy of the Notice of Pleading, Deadline to Object, and for Hearing [Doc No.
25] by first class United States Mail, postage prepaid, on all of those entities set forth at the
addresses stated:

                       Office of the United States Trustee
                       362 Richard B. Russell Building
                       75 Ted Turner Drive, SW
                       Atlanta, GA 30303

                       Daniel E. Raskin
                       Law Clinic of Daniel E. Raskin
                       Suite 114
                       325 Hammond Drive
                       Atlanta, GA 30328

                       Victor Vu Nguyen
                       293 Grand Manor Dr.
                       Marietta, GA 30068

       This is to certify further that on November 3, 2020, I, S. Gregory Hays, caused to be
served true and correct copies of the Notice of Pleading, Deadline to Object, and for Hearing
[Doc No. 25] by first class United States Mail, postage prepaid, on all of those entities set forth
on Exhibit “A” at the addresses stated.

         This 3rd day of November, 2020.

                                                       /s/ S. Gregory Hays
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
         Case 20-65736-pwb       Doc 26   Filed 11/03/20 Entered 11/03/20 12:21:44 Desc Main
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Bank of America                      JPMORGAN CHASE BANK N A            Chase Card Services
4909 Savarese Circle                 Bankruptcy Mail Intake Team        Attn: Bankruptcy
Fl1-908-01-50                        700 Kansas Lane, Floor 01          Po Box 15298
Tampa, FL 33634-2413                 MONROE, LA 71203-4774              Wilmington, DE 19850

Credit Control Corporation           Credit First National Association   County Of Orange/Child Support
Attn: Bankruptcy                     Attn: Bankruptcy                    Serv
Po Box 120568                        Po Box 81315                        Attn: Bankruptcy
Newport News, VA 23612-0568          Cleveland, OH 44181-0315            Po Box 22099
                                                                         Santa Ana, CA 92702-2099
Infiniti Financial Services          JPMorgan Chase Bank, N.A.           SCE (Southern California Edison)
Nissan Motor Accep Bankruptcy        s/b/m/t Chase Bank USA, N.A.        Attn: Bankruptcy
PO Box 660360                        c/o National Bankruptcy Serv.       Po Box 800
Dallas, TX 75266-0360                PO Box 9013                         Rosemead, CA 91770-0800
                                     Addison, TX 75001-9013
American Express National Bank       Amex                                Wells Fargo
c/o Becket and Lee LLP               Correspondence/Bankruptcy           PO Box 48724
PO Box 3001                          Po Box 981540                       Kansas City, MO
Malvern, PA 19355-0701               El Paso, TX 79998-1540
